[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]                         MEMORANDUM OF DECISION
This matter comes before the court pursuant to Section 46b-231 (n) Connecticut General Statutes as an appeal from a decision of the Family Support Magistrate dated December 16, 2002.
The court, having reviewed the file, including the transcript of the proceedings before the Family Support Magistrate, and having considered the oral argument of the parties, at which time the applicant asked leave to present additional evidence, hereby finds as follows:
1. That the applicant has failed to demonstrate to the satisfaction of the court that the additional evidence would be material, and that there was a sufficient reason why such evidence was not presented at the time of the hearing before the Family Support Magistrate.
2. That no substantial rights of the appellant were violated during the hearing before the Family Support Magistrate.
THEREFORE, IT IS HEREBY ORDERED THAT:
The decision of the Family Support Magistrate is hereby AFFIRMED and the appeal therefrom is hereby DENIED, and that no costs are taxed to either party.
The Court
Shay, J. CT Page 2578-aa